                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
                  Plaintiff,
         v.                                                          Case No. 05-CR-240

TIMOTHY VALLEJO, et. al.,
                Defendants.


                                              ORDER


         Defendants Juan Gonzalez, Richard Kerner, and Jorge Barragan all filed similar motions

requesting leave to file additional pretrial motions on the speculative basis that the government may

provide additional discovery that will warrant the filing of additional motions. (Docket numbers

638, 644, and 669, respectively.)

         Defendant Joe Sanchez previously filed a similar motion, which this court denied without

prejudice. The court shall deny the present defendants’ motions on the same basis it denied Joe

Sanchez’ earlier motion. The court shall not extend the deadline for filing pretrial motions based

upon speculation. If a defendant is provided with additional discovery that results in the need to file

additional motions, defendant can renew his request at that time, supported by a showing of good

cause.

         IT IS THEREFORE ORDERED that the defendants’ motions for leave to file additional

motions is denied without prejudice.

         Dated at Milwaukee, Wisconsin, this 9th day of November, 2006.

                                              BY THE COURT:

                                              s/Aaron E. Goodstein
                                              AARON E. GOODSTEIN
                                              United States Magistrate Judge
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